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VIA ECF

 Hon. Lewis J. Liman
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY 10007

Re: Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)

Dear Judge Liman:

        Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss respectfully move pursuant
to Local Rule 7.1(d), Paragraph I(C) of the Court’s Individual Rules and Practices,
Federal Rule of Civil Procedure 69, and 26 U.S.C. § 7216 for an order authorizing them
to serve on Mazars USA, LLP (“Mazars”), and authorizing Mazars to respond to, a Rule
45 subpoena in substantially the form attached hereto as Exhibit A (the “Mazars
Subpoena”) seeking any documents and communications relating to the four Yankees
World Series rings subject to the claims of Intervenor-Defendant Andrew Giuliani
(“Intervenor”). Specifically, the subpoena seeks any information in Mazars’ possession
relating to any gift-and-estate tax planning or filings in connection with Defendant’s
purported gift of the four World Series Rings to Intervenor.

        Counsel for Plaintiffs have conferred with counsel for Defendant, who requested a
meet-and-confer. Plaintiffs asked what would be discussed at the meet-and-confer and
whether Defendant would stipulate to the facts that the evidence produced in response to
this subpoena would seek to establish. Specifically, Plaintiffs asked whether Defendant
would stipulate that 1) at the time of the purported gift, the value of the rings,
individually and collectively, exceeded any applicable annual gift-and-estate tax
exclusion amount applicable the purported gift in tax year 2018, and 2) that no gift tax
return was ever filed relating to the rings. Defendant declined to so stipulate, and
Plaintiffs’ counsel understands that Defendant intends to oppose this motion.



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             I.          Background

        The World Series rings at issue were initially listed on Mr. Giuliani’s bankruptcy
schedules as property of the bankruptcy estate in his chapter 11 case, indicating that Mr.
Giuliani understood the rings to have been his property as of the December 21, 2023
chapter 11 petition. See ECF No. 10-2 at 4. When proceedings commenced in this Court,
Plaintiffs included the World Series rings among the property subject to their motion for
turnover and receivership. See ECF No. 9.

        On October 8, 2024, while that motion was pending, Intervenor moved to
intervene to assert an interest in the rings, claiming that Defendant had gifted the rings to
Intervenor on May 25, 2018. (ECF No. 52). Plaintiffs promptly served discovery requests
(including a set of document requests that covered documents and communications
relating to tax planning) on Intervenor on October 16, 2024, and Intervenor responded on
October 27, producing a limited set of documents and nothing relating to any tax
planning by himself or by Defendant. See Exhibit B.

       As Defendant has previously acknowledged, Mazars served as his tax preparer
through mid-2023. ECF No. 10-9 at 24:13–19.

             II.        Argument

        The Court should enter an order pursuant to 26 U.S.C. § 7216(b)(1)(B)
authorizing service of the Mazars Subpoena and authorizing Mazars to respond. As is
well-established, a court may order the disclosure of tax returns, pursuant to 26 U.S.C.
7216 (b)(1)(B). In a civil case, a court will order disclosure of tax returns where: (1) “the
returns are relevant to the subject matter of the action” and (2) “there is a compelling
need for the returns because the information contained therein is not otherwise readily
obtainable.” White v. County of Suffolk, 2024 WL 2274450, at *3 n.9 (E.D.N.Y. May 20,
2024) (quoting SEC v. Cymaticolor Corp., 106 F.R.D. 545, 547 (S.D.N.Y. 1985));
Mangahas v. Eight Oranges Inc., 2022 WL 14106010, at *2 (S.D.N.Y. Oct. 24, 2022)
(same).

       As to the first factor, evidence relating to any tax planning surrounding that
purported gift—or the lack of such evidence—would plainly be relevant to an assessment
of whether the gift occurred as Intervenor (and now Mr. Giuliani) claim. In 2018, the year


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of the purported gift, the annual gift and estate tax exclusion amount was $15,000 per
donee; meanwhile, the lifetime exclusion amount had only just been raised—temporarily
and only through January 1, 2026—from approximately $5.5 million to approximately
$11 million.1 Meanwhile, as far back as 2007, one public report estimated the value of the
World Series rings as “collectively worth a minimum of $200,000,”2 while another
contemporaneous report stated that “reporters were told years ago that the 1998 ring by
itself was worth $15,000.”3 Defendant’s out-of-pocket cost for the rings was reported to
have totaled $43,000;4 even by that conservative estimate, a gift of the four rings would
have exceeded the 2018 annual exclusion amount. Given Defendant’s financial condition
at the time of the purported gift, it would be natural to assume that he would have
considered the tax consequences of such a gift and reported it appropriately to the IRS.
Obtaining any records in Mazars’ possession responsive to the attached subpoena will
shed important light on the contemporaneous understanding of the parties to the
purported gift and will be important to determining the validity of Intervenor’s claim to
the rings. See, e.g., SEC v. Rayat, 2023 WL 1861498, at *2, *5 (S.D.N.Y. Feb. 9, 2023)
(finding tax returns relevant where SEC was “entitled to information” about defendant’s
claim that certain stock transfers “were intended to be a gift . . . that reduced any
corresponding tax burden.”) (quotations omitted).

        As to the second factor, the requested documents are not “otherwise readily
obtainable.” Defendant has resisted discovery into his financial condition at every turn.
See Freeman v. Giuliani, 691 F. Supp. 3d 32, 54–62 (D.D.C. 2023). His belated,
bare-bones response to an information subpoena served in connection with this matter did
not even name Mazars as a potential custodian with “knowledge or information”
concerning his assets, despite Mazars having served as his tax preparer until mid-2023.
Supra at 2; see Exhibit C. In these circumstances, Plaintiffs should not be required to turn
to Defendant for documents and communications that—if they exist—would surely be in
the records of his tax preparer.5
1
  See Internal Revenue Service, What’s new – Estate and gift tax (last accessed Nov. 6, 2024),
https://www.irs.gov/businesses/small-businesses-self-employed/whats-new-estate-and-gift-tax.
2
  Wayne Barrett, The Yankees’ Clean-Up Man, The Village Voice (May 1, 2007),
https://www.villagevoice.com/the-yankees-clean-up-man/ (last accessed Nov. 6, 2024).
3
  Jim Dwyer, The Rings of Giuliani, The New York Times (May 12, 2007),
https://www.nytimes.com/2007/05/12/nyregion/12about.html (last accessed Nov. 6, 2024).
4
  Id.
5
   Plaintiffs will also serve requests for production on Defendant to which such tax records would be responsive,
but are entitled to third-party discovery in this instance because this evidence is calculated, in a sense, to prove a


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              III.         Conclusion

       Plaintiffs respectfully request the Court enter an order pursuant to 26 U.S.C. §
7216(b)(1)(B) authorizing Plaintiffs to serve the proposed Mazars Subpoena and
compelling the disclosure of materials responsive to the Mazars Subpoena.

                                                                     Respectfully submitted,

                                                                     s/ Rachel Goodman



Cc:      Rebecca Gelozin
         Peter Larkin
         Wilson Elser Moskowitz Edelman & Dicker LLP

         Counsel to Mazars USA LLP




negative: that there was no gift tax planning surrounding the rings, or that if there was such planning with respect
to certain rings, there was not with respect to others. Accordingly, it will be important for Plaintiffs to be able to
argue to the factfinder that neither Defendant, Intervenor, nor the third-party custodian who would have such
records in fact does have any such records.


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